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                                No. 13C-380
                         (Judge Thomas C. Wheeler)


          IN THE UNITED STATES COURT OF FEDERAL CLAIMS


                   AGILITY DEFENSE & GOVERNMENT
                            SERVICES, INC.,
                               Plaintiff,

                                    v.

                      UNITED STATES OF AMERICA,
                               Defendant.


    DEFENDANT'S MOTION TO DISMISS, OR, IN THE ALTERNATIVE,
      MOTION FOR SUMMARY JUDGMENT AND OPPOSITION TO
   PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT AND APPENDIX


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


AGILITY DEFENSE & GOVERNMENT)
SERVICES, INC.,             )
                            )
           Plaintiff,       )
                            )
          v.                                   )         No.13C-380
                                               )        (Judge Thomas C. Wheeler)
UNITED STATES OF AMERICA,                      )
                                               )
                Defendant.                     )


         DEFENDANT'S MOTION TO DISMISS, OR, IN THE ALTERNATIVE,
           MOTION FOR SUMMARY JUDGMENT AND OPPOSITION TO
        PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT AND APPENDIX

       Pursuant to Rules 12(6)(b) and 56 of the Rules of the United States Court of Federal

Claims (RCFC), defendant, the United States, respectfully requests that the Court dismiss the

complaint for failure to state a claim upon which relief can be granted, or, in the alternative, enter

summary judgment in the Government's favor. The undisputed material facts show that Agility

entered into a fixed price contract for the delivery of weapons, for which it bore the risk of

increased costs; that the United States made no changes to the contract; did not. change the design

specifications of the weapons sought under the contract; did not constructively change the

contract; and did not create conditions that rendered the performance of the contract impossible

or commercially impracticable. Thus, Agility cannot meet its burden, as a matter of law, to

demonstrate that it is entitled to an equitable adjustment. In support of this motion to dismiss,

and opposition to Agility's motion for summary judgment, defendant relies upon the complaint

and attachments, plaintiffs motion for summary judgment and appendix, this brief, and our
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appendix.

                                  STATEMENT OF THE ISSUES

       1.       Whether Agility Defense & Government Services, Inc. (Agility) is entitled to an

equitable adjustment in the amount of $1,369,377.47, under Delivery Order D006, that was

issued pursuant to contract W91 CRB-04-D-0025, a fixed-price, indefinite-delivery, indefinite

quantity (IDIQ) type contract with the Department of the Army (Army), based upon the Army's

alleged changes to the contract, including alleged "changed design specifications," and duty to

reimburse Agility for its additional costs, pursuant to FAR 52.243-1 Changes - Fixed Price
                                      1
(AUG 1987). Compl. ifif 20, 23, 24.

       2.       Whether Agility's continued performance of the contract after April 7, 2010,

when, pursuant to FAR 52.216-22, Agility was "not required to make any deliveries under the

contract after two years after original delivery date," constitutes a constructive change to the

contract for which Agility is entitled to an equitable adjustment in the amount of $1,3 69 ,3 77.4 7.

Compl. if 22.

        3.      Whether Agility is entitled to an equitable adjustment in the amount of

$1,369,377.47, based upon alleged "circumstances that were impossible and commercially

impracticable." Compl.   if 23.

1
  "Compl. at if_" refers to the paragraph within Agility's complaint, filed on June 7, 2013. Pl.
Mot., p. _"refers to the ECF page number of Agility's motion for summary judgment, filed
on September 6, 2013. "Pl. Mot., Exhibit A, p. _"refers to the ECF page number of Exhibit
A, attached to Agility's motion for summary judgment. "Pl. Mot., Attachment_, p. _ "
refers to the ECF page number of the numbered attachment appended to Agility's motion for
summary judgment. "Def. App._" refers to the page of defendant's appendix filed with our
motion.
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       4.      Whether Agility is entitled to an equitable adjustment in the amount of

$1,3 69 ,3 77.4 7, because the Government received "the benefit of the new production SPG-9

variants" at an increased cost to Agility. Pl. Mot., p. 2.

                                  STATEMENT OF THE CASE

I.      Nature Of The Case

        Plaintiff, Agility Defense & Government Services, Inc., formerly Taos (Agility) seeks an

equitable adjustment in the amount of $1,369,377.47, for costs incurred in procuring and

delivering SPG-9 weapons to the Army, under fixed price Contract W91CRB-04-D-0025,

Delivery Order 006. (Compl. at ~1, and Prayer). Agility alleges changes under FAR 52.243-1,

including changed design specifications (Compl.     ~~   20, 24); constructive change (Compl.   at~


22); and impossibility and commercial impracticability. (Comp. at ~23).

        At the motion-to-dismiss stage, Agility is not required to prove its case. But its pleadings

must allege facts that, if later proven, would entitle it to relief. See RCFC 8( a) (requiring that the

complaint contain allegations "showing that the pleader is entitled to relief'). Because, as

discussed below, Agility fails to allege sufficient facts to support its claims, there can be no

recovery.

        In its motion for summary judgment, Agility argues that because "[t]he Government

received the benefit of new production SPG-9 variants," it should be required to pay Agility its

unreimbursed costs for providing the new production SPG-9 weapons. Pl. Mot., p. 3. Contrary

to Agility's argument, however, the Government received only the performance required under

the contract. That performance pursuant to the contract, leaves no basis for recovery for Agility


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under these circumstances. Agility offered to provide a particular number of weapons at a

particular price under a firm fixed-price contract and it bore the risk of price increases. There is

no legally cognizable justification or basis for Agility's claim. Therefore, the Government

respectfully requests that the Court dismiss Agility's complaint, or, in the alternative, deny

Agility's motion for summary judgment.

II.    Statement of Facts 2

        On May 21, 2004, Agility submitted a proposal in response to the solicitation pertaining

to Contract W91CRB-04-D-0025. Def. App. A8-A16. With respect to CLIN 0003, which

required "SPG-9, Recoilless Guns, 73mm,"Agility estimated a unit price of $10,476.35 for

"[n]ew equipment." Def. App. Al2, A16. In their proposal, Agility also stated that "[i]f new

production is required because other DoD requirements receive priority on stock items, Taos will

deliver new production weapons. Delivery of new production stocks will take approximately 120

days from approval of Export License." Def. App. A15 ..

        On July 12, 2004, the Government and Agility entered into Contract W91CRB-04-D-

0025, an indefinite-delivery indefinite-quantity (IDIQ) contract, in which Agility agreed to

deliver particular soviet style weapons to the United States, among which were "SPG-9



2
  Because we disagree with Agility's' statement of the facts, as set forth in Agility's brief, Pl.
Mot., pp. 2-3, and Exhibit A, Ms. Chillcott' s Affidavit, we provide a brief fact section to place
the undisputed facts in their proper light. For the purposes of this motion only, we agree with the
facts that are supported by evidence, such as the contract and other documents. As discussed
below, we disagree with statements that contain Agility's interpretation of the facts or amount to
argument. We also reserve the right to challenge each asserted fact in any subsequent
proceeding.

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Recoilless Gun, 73 mm." Pl. Mot., Exhibit A, p. 7; Attachment 1, pp. 13-14. The contract stated

that the "proposed equipment may be new, new surplus, used, overhauled, or refurbished." Id. at

14. The contract further stated that "[i]ndividual delivery orders issued under the basic contact

will be on a firm, fixed price basis." Id. At 14. 3

          The contract incorporated Far 52.216.22 INDEFINITE QUANTITY (Oct 1995), which

states:

          (d) Any order issued during the effective period of this contract and not
          completed within that period shall be completed by the Contractor within
          the time specified in the order. The contract shall govern the Contractor's
          and Government's rights and obligations with respect to that order to the
          same extent as if the order were completed during the contract's effective
          period; provided, that the Contractor shall not be required to make any
          deliveries under this contract after 2 years after original delivery date.

Id. at 28 (emphasis in original).

          On December 7, 2007, the parties subsequently entered into Delivery Order D006, which

stated the quantity, unit price, and nature of the contract. Pl. Mot., Attachment 2, pp. 31-43.

Pursuant to Item 0004 of Delivery Order D006, Agility agreed to deliver "SPG-9, 73mm

Smoothbore Recoilless Rifle to include the PG0-9 Optical 4x sight." Id. at 34. Delivery Order

D006 incorporated the contract provision that the "proposed equipment may be new, new

surplus, used, overhauled, or refurbished." Pl. Mot., Exhibit A, p. 7; Attachment 1, p. 14.

Agility offered a firm fixed unit price of $5,864.00 per weapon for a total price of $1,319,400.00,

for the required 225 weapons. Id. at 34; Comp!.       ~6.   The delivery date for the weapons was


3
  In its motion, Agility states: "a) the Government awarded the Base Contract to DGS (Chillcott
Aff.,at para. 3)." Pl. Mot., p. 2. We agree with this statement, to the extent that it is supported by
the contract, which speaks for itself.
                                                  -5-
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April 7, 2008. Pl. Mot., Attachment 2, p. 42. Pursuant to FAR 52.216-22, Agility's obligation to

perform ceased on or about April 7, 2010.

       Agility and the Government entered into Bilateral Modification P00004, with an effective

date of April 1, 2010. 4 Def. App. A-34-A36. Bilateral Modification P00004 stated that "Taos

will not meet the current delivery date" and that "[t]he revised delivery date is not yet known."

Def. App. A36. Pursuant to Bilateral Modification P00004, Agility agreed to provide "20,000

YAK-B Links as consideration for late delivery," under Delivery Order D006. Modification 4

did not contain a specific delivery date. Def. App. A35-A36.

       Agility failed to perform under the contract by the April 7, 2010 date.

       Between April 1, 2010 and March 10, 2011, Agility failed to deliver the weapons

required under Delivery Order D006. During that time frame, Agility and the Government

continued to discuss performance of the contract. Some of the communications regarding these

discussions are provided as attachments to Agility's motion. Pl. Mot., Attachments 3-6, pp. 45-

99.

       Based upon these discussions and Agility's inability to deliver the weapons, the parties

mutually agreed to Bilateral Modification P00007 5 to "set firm delivery schedules," with an



4
  In its motion, Agility states: "b) DGS's obligation to perform under the Base Contract was
extinguished (id. at para. 6)." Pl. Mot., p. 2. We disagree with this statement and the
information contained in paragraph 6 of Exhibit A, because they contain Agility's interpretation
of the facts and argument.
5
  In its motion, Agility incorrectly refers to Bilateral Modification P00007, with an effective date
of March 11, 2011, as "Modification 00006 ('Bilateral Modification')''. Pl. Mot., Exhibit A, p.
9. Modification P00006, with an effective date of January 7, 2011, only revised delivery dates.
                                                -6-
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effective date of March 10, 2011. 6 Pl. Mot., Attachment 7, pp.101-104. In Box 14 of Bilateral

Modification P00007, Agility expressly waived its right under FAR 52.216-22; "regarding the

restriction on not requiring the contractor to make delivery after 2 years after the original

delivery date." 7 Additionally, Bilateral Modification P00007 described: 1) the delivery dates as

"firm dates subject only to the requirements for actions by the USG;" 3) stated that the variant of

the SPG-9 weapons that Agility offered was "SPG-9/ 73 mm Arsenal Anti-Tank Grenade

Launcher ATGL-H with Optical Sight PGOK-9. NEW PRODUCTION;" and 3) set firm

delivery dates. There is no mention of a price increase in Bilateral Modification P00007. Pl.

Mot., Attachment 7, pp.102-104.

        Upon delivery of the weapons, 8 Agility submitted a request for equitable adjustment, Pl.




Def. App. 37.
6
  In its motion, Agility states: "(c) after DGS's obligation to perform was extinguished, the
Government induced DGS to perform under the delivery Order with a promise to 'seriously
consider' the REA (id at para. 7)." Pl. Mot. p. 3. We disagree with this statement and the
information contained in paragraph 7 of Exhibit A, because they contain Agility's interpretation
of the facts and argument.
7
  In its motion, Agility states: "(d) after DGS expressly reserved its right to submit the REA,
which it expected to be 'seriously consider[ed],' the Government modified the delivery order to
provide for the delivery of differing and more expensive goods (id, at para's 8, 9)." )." Pl. Mot.,
p. 3. We disagree with this statement and the information contained in paragraphs 8 and 9 of
Exhibit A, because they contain Agility's interpretation of the facts and argument.
8
  In its motion, Agility states: "(e) DGS delivered differing and more expensive goods, per the
Bilateral Modification (id. at para. 1O);" and"(f) the Government accepted the differing and more
expensive goods (id.) Pl. Mot., p. 3. We agree that Agility delivered SPG-9 weapons, but
disagree with these statements and the information contained in paragraph 10 of Exhibit A,
because they contain Agility's interpretation of the facts and argument.


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Mot., Attachment 9, pp.108-131, which the contracting officer denied on July 10, 2012. Id. 135-

136.9 Agility filed a Certified Claim on August 7, 2012. Pl. Mot., Attachment 10, pp 133-134.

The contracting officer denied Agility's Certified Claim on January 16, 2013. Pl. Mot.,

Attachment 11, pp. 169-173.

       On June 7, 2013, Agility filed a complaint in this Court. On September 6, 2013, Agility

filed a motion for summary judgment, before defendant had an opportunity to file a response to

the complaint.

                                          ARGUMENT

       The undisputed material facts demonstrate that Agility entered into a fixed price contract

for which it bore the risk of increased costs and that the Government made no changes to the

contract for which Agility is entitled to an equitable adjustment. Accordingly, as a matter of law,

the Court should dismiss the complaint.

I.     Standard Of Review

       RCFC l 2(b)( 6) authorizes the dismissal of a complaint if, assuming the truth of its ·

allegations, it fails to state a claim upon which relief can be granted as a matter of law. A motion

to dismiss pursuant to RCFC 12(b)(6) should be granted when a plaintiff alleges facts that do not

entitle it to a legal remedy. See Godwin v. United States, 338 F.3d 1374, 1377 (Fed. Cir. 2003).

Under RCFC 8(a), a pleading must contain "a short and plain statement of the claim showing



9 In its motion, Agility states: "(g) DGS submitted the REA, which was rejected by the
Government (Id. at para. 11)." Pl. Mot., p. 3. We agree with this statement, to the extent that it
is supported by the document contained in Attachment 9, which speaks for itself.


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that the pleader is entitled to relief." The United States Supreme Court has explained that a

complaint "must contain sufficient factual matter, accepted as true, to 'state a claim to relief that

is plausible on its face."' Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 570 (2007)), with "facts sufficient to nudge 'claims across the

line from conceivable to plausible."' Trinca Investment Co. v. United States, 722 F.3d 1375,

1380 Fed. Cir. (2013) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The

allegations of the complaint must show more than "a sheer possibility that a defendant has acted

unlawfully." Id. The Court should assume that well-pleaded facts alleged in the complaint are

true, but "[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice." Id. (citing Twombly, 550 U.S. at 555). However, a

complaint's legal conclusions are not entitled to deference. See id. (quoting 2A Jeremy C.

Moore, Moore's Federal Practice,~ 12.07 [2.-5] (2d ed. 1992)).

        Pursuant to RCFC 56, summary judgment as to any claim is appropriate when there is no

genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

law. See RCFC 56(c); see also Celotex Corp. v. United States, 477 U.S. 317, 322 (1986);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). A dispute is "genuine" only ifthe

evidence is such that a reasonable jury could return a verdict for the non-moving party.

Anderson, 477 U.S. at 248,· see also Sweats Fashions, Inc. v. Pennill Knitting Co., 833 F.2d

1560, 1562 (Fed. Cir. 1987). Thus, when the record as a whole would not lead a rational trier of

fact to find for the non-moving party, there is no genuine issue for trial. See Matsushita Electric

Industrial Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); accord Celotex, 477 U.S. at


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327. A fact is material if it could affect the outcome of the suit, and the substantive law

applicable to the case determines its materiality. See, e.g., Spirit Leveling Contractors v. United

States, 19 Cl. Ct. 84, 89 (1989).

II.    The Government Made No Changes To The Contract That Are Covered By The
       Changes Clause

       In its complaint, Agility alleges that through Bilateral Modification P00007, "the contract

was modified to require DGS to provide 225 new production 'SPG-9/73 mm Arsenal Anti-Tank

Grenade Launcher ATGL-H with Optical Sight PGOK-9,' rather than the originally designated

new surplus 'SPG-9, 73mm Smoothbore Recoilless Rifle with the PG0-9 Optical 4x sight."

Compl. ~ 19. Additionally, Agility alleges that its offer to provide "new production" rather than

"new surplus" weapons constituted a change to the contract. Compl.      ~~   18, 19. Agility

characterizes the requirements of this bilateral modification as a "changed design specification,"

which resulted in additional costs, for which it seeks reimbursement. Compl.     ~   20.

        FAR 52.243-1 Changes - Fixed Price (AUG 1987) states, in part:

               (a) The Contracting Officer may at any time, by written order, and
               without notice to the sureties, if any, make changes within the
               general scope of this contract in any one or more of the following:

                (2) Drawings, designs, or specifications when the supplies to be
                furnished are to be specially manufactured for the Government in
                accordance with the drawings, designs, or specifications.

                (2) Method of shipment or packing.

                (3) Place of delivery.

        Bilateral Modification P00007 did not change the design specifications of the weapons,

but stated, among other things, the variant and supplier of the SPG-9 weapons that Agility

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offered to procure. The supplier was to be Arsenal and the weapons were to be "SPG-9/ 73 mm

Arsenal Anti-Tank Grenade Launcher ATGL-H with Optical Sight PGOK-9. NEW

PRODUCTION." Pl. Mot., Attachment 7, p. 102. Agility itself determined the variant and

supplier of the weapons, not the Government.

       In the attached declaration, Mr. Terry McJ?ee, Contracting Officer for Agility's contract,

describes the background and terminology used in Bilateral Modification P00007, which he

drafted. Def. App. Al-A7. Mr. McBee explains that Agility provided the name of the SPG-9

weapons that was included in Bilateral Modification P00007, "SPG-9/ 73 mm Arsenal Anti-Tank

Grenade Launcher ATGL-H with Optical Sight PGOK-9." Def. App. A3,           ~~   11-12. He notes

that Agility was required to identify the supplier and the variant of the weapons it would obtain

for the End User Certificate (EUC), "a document needed by the Bulgarian Government in order

to grant an export license used to transport weapons between countries." Def. App. A2,      ~   9,

A25. In the EUC, Agility stated that it would obtain the weapons from a manufacturer, "Arsenal

JSC, 100 Rozova Dolina St., 6100 Kazanlak, Bulgaria (manufacture)" and identified the

nomenclature for this subcontractor's version of the SPG-9 as, "225 SPG-9/ 73mm Arsenal Anti-

Tank Grenade Launcher ATGL-H with Optical Sight PGOK-9." Def. App. A3,            ~11;   AS, A6.

Mr. McBee states that the weapons that Agility offered to procure in 2011 "were nothing more

than a variant of the original Hungarian SPG-9 weapons that Agility had offered to provide in the

Delivery Order (DO) in December 2007." Def. App. A3,       ~13.   The weapons may have been

described slightly differently in D0006 and Bilateral Modification P00007. However, as Mr.

McBee states, "The difference in terminology describing the weapons in the DO and in Bilateral


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Modification P00007 merely reflects the change in the source of the weapons to the new

subcontractor, Arsenal, and identifies the specific name used by Arsenal for marketing its SPG-9

weapons." Def. App. A3,   ~14.   Additionally, as he states in his declaration, Mr. McBee "used

the same description of the weapons and the source of the weapons that Agility provided for the

EUC in Bilateral Modification P00007, in order to ensure consistency between the wording of

the EUC and the wording of Bilateral Modification P00007." Def. App. A3,      ~12.

       Additionally, the Government did not change the contract by the inclusion of "new

production" in Bilateral Modification P00007. The contract stated that the "proposed equipment

may be new, new surplus, used, overhauled, or refurbished." Exhibit A, Attachment 1, p. 14.

The Government never wavered from this requirement and never unilaterally required Agility to

complete the contract with new production weapons. As described in Mr. McBee's Declaration,

initially, Agility elected to procure new surplus weapons. When the weapons were unavailable,

Agility elected to procure new production weapons from Arsenal in order to complete contract

performance, and the parties mutually agreed to this alternative in Bilateral Modification

P00007. Def. App. A3,   ~15;   Pl. Mot., Attachment 7, pp. 101-104.

III.   Agility Accepted The Risk For Increased Costs Of New Production Weapons

       Agility further alleges that Bilateral Modification P00007, which required "the

procurement of new production SPG-9 variants with revised delivery terms" as "a change under

FAR 52.243-1 because it constituted an increase in the cost and time required for performance

that required the CO to make an equitable adjustment to the contract price." Compl.   ~24.


However, the contract and Delivery Order D006 specified that the contract was on a firm fixed


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price basis, for which Agility clearly accepted the risk of performance.

       By definition, a firm fixed price contract is one that "provides for a price that is not

subject to any adjustment on the basis of the contractor's cost experience." 48 C.F.R. § 16.202-1

(2000). This contract type places upon the contractor maximum risk and full responsibility for

all costs and resulting profit or loss, providing a maximum incentive for the contractor to control

costs and perform effectively while imposing a minimum administrative burden upon the

contracting parties. Id.; see also, Dalton v. Cessna Aircraft Co., 98 F.3d 1298, 1305 (Fed. Cir.

1996) ("Because fixed price contracts do not contain a method for varying the price of the

contract in even unforeseen circumstances, they assign the risk to the contractor that the actual

cost of performance will be higher than the price of the contract."). Thus, the fact that there were

unforeseen increases in the cost of performance does not alter the fact that those costs are to be

borne by the contractor. ITT Arctic Services, Inc. v. United States, 524 F.2d 680, 691 (Ct. Cl.

1975) ("Where one agrees to do, for a fixed sum, a thing possible to be performed, he will not be

excused or become entitled to additional compensation, because unforeseen difficulties are

encountered.") (quoting United States v. Spearin, 248 U.S. 132, 136 (1918)).

        Agility is responsible for the increased costs that were incurred when, as part of Bilateral

Modification P00007, it elected to procure new production weapons because the contract and

Delivery Order D006 stated that the procurement was for a firm fixed price that the Government

had accepted. The contract expressly provided that the "proposed equipment may be new, new

surplus, used, overhauled, or refurbished." Pl. Mot. Attachment 1, p. 14. Agility encountered

delays and difficulty in obtaining new surplus weapons from its first subcontractors, but was able


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to procure new production weapons from another subcontractor, Arsenal, at an increased cost.

Consequently, when it agreed to procure the weapons in December 2007, Agility expressly

accepted the risk that performing the contract could cost more than it had anticipated.

       Additionally, Agility was well aware of the possibility that new production weapons

could cost more than new surplus weapons. In its proposal dated May 21, 2004, Agility listed

the unit cost for "new" "SPG-9, Recoilless Gun, 73 mm" as $10,476.35. Def. App. A12, Al6.

However, in its response to Delivery Order D006 in December 2007, Agility elected to provide

weapons at a unit cost of $5,864.00, a little more than half the unit cost of the "new" weapons

that Agility offered in March 2011 in Bilateral Modification P00007. Thus, the likelihood that

new production weapons would cost significantly more than Agility actually bid in response to

Delivery Order D006 was foreseeable. Under the terms of the firm fixed price contract, Agility

bore the risk that it might not be able to obtain the weapons at the lower unit cost and it is not

now entitled to an equitable adjustment for its increased costs.

IV.    Agility's Continued Performance After April 7, 2010, Was Not A Constructive
       Change To The Contract

        In its complaint, Agility alleges that its "continued performance, despite its having no

obligation to do so pursuant to FAR. 52.216-22, constituted a constructive change to the terms of

the contract" for which it should be compensated. Compl.      ~22.   However, Agility fails to allege

facts to support its claim of a constructive change.

        "A constructive change occurs where a contractor performs work beyond the contract

requirements without a formal order, either by an informal order or due to the fault of the

Government." International Data Products Corp. v. United States, 492 F.3d 1317, 1325 (Fed.

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Cir. 2007) (citing Miller Elevator Co. v. United States, 30 Fed. Cl. 662, 678 (1994)). Work that

cannot be characterized as "additional" to the contract does not constitute a change, constructive,

equitable, or cardinal. Id.

        Here, pursuant to FAR 52.216-22, Agility's obligation to perform the contract ceased on

April 7, 2010. However, in anticipation that Agility would not meet the delivery date, the parties

executed Bilateral Modification P00004, with an effective date of April 1, 2010, six days before

Agility's obligation to perform the contract ceased. Compl.    ~10,   Def. App.A34-A36. In its

complaint, Agility describes Bilateral Modification P00004 simply as an "agreement not to

establish a delivery date." Compl.   ~   10. However, Bilateral Modification P00004 did far more

because Agility offered consideration for late delivery, and agreed to extending the time within

which Agility could perform at no additional cost. Bilateral Modification P00004 stated that

Agility "shall provide 20,000 YAK-B Links as consideration for late delivery. The links shall be

delivered upon receipt of the export license." Def. App. A34. This bilateral modification, in

which Agility agreed to provide consideration for late delivery at no additional cost to the

Government, clearly shows Agility's intent to continue performance on the contract and the

Government's expectation that Agility would perform the contract at no additional cost. This

agreement amounts to Agility's tacit waiver of its right to cease performance after April 7, 2010.

        Moreover, as discussed previously, in Bilateral Modification P00007, issued on March

11, 2011, Agility clearly and expressly waived its right to cease contract performance two years

after the original delivery date. Pl. Mot., Attachment 1, p. 28. Thus, Agility fails to allege facts

to support a claim that the Government constructively changed the contract by requiring Agility


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to perform when it had the right to cease performance and its complaint should be dismissed.

V.     Agility Fails To Allege Facts To Support A Claim That Performance Was
       Impossible Or Commercially Impracticable

       Agility alleges that Modification P00005, issued on December 22, 2010, "unilaterally

established delivery dates that were both impossible and commercially impracticable."

Compl.~   14. Additionally, Agility alleges that "the CO demanded performance under impossible

and commercially impracticable terms by issuing Modification 05 and all subsequent scheduling

demands" and "created a new schedule under circumstances that were impossible and

commercially impracticable." Compl.     ~23.   However, Agility fails to allege facts to support

these claim and its claims are unfounded.

       The fact that Agility incurred additional costs in performance of the contract because it

procured new production weapons, rather than new surplus weapons does not render the contract

impossible or commercially impracticable. "The commercial impracticability standard can be

easily abused; thus this court has not applied it with frequency or enthusiasm. It is not invoked

merely because costs have become more expensive than originally contemplated." Jennie-0

Foods, Inc. v. United States, 580 F.2d 400, 409 (Ct. Cl. 1978) (citing Natus Corp. v. United

States, 371F.2d450, 458 (1967); Anthony P. Miller, Inc. v. United States, 161 Ct. Cl. 455, cert.

denied, 375 U.S. 879 (1963). See also, Whitlock Corp. v. United States, 159 F. Supp. 602, 606,

141 Ct. Cl. 758, 763, cert. denied, 358 U.S. 815, (1958); Edwards v. United States, 80 Ct. Cl.

118, 131 (1934)).

       Here, Agility's claim that "Modification 5 and all subsequent scheduling demands"

created conditions that rendered the contract impossible or impracticable to perform is simply

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not true. Despite its claim that the contract became commercially impracticable or impossible to

perform because the Government issued unilateral Modification P00005, Agility delivered the

225 weapons, required pursuant to Delivery Order D006. Pl. Mot., Attachment 8, p. 106.

Subsequent changes to the delivery dates were executed through Bilateral Modification P00007,

to which Agility agreed. As stated previously, among its provisions, Bilateral Modification

P00007 "set firm delivery schedules" to which both parties agreed. Other than the conclusory

statement that Modification P00005 created circumstances that were impossible and

commercially impracticable, Agility fails to allege facts to state a claim for relief on an

impracticability or impossibility cause of action.

        The facts alleged by Agility simply do not entitle it to a legal remedy and the complaint

should be dismissed. A plain reading of the contract in conjunction with Agility's complaint

shows that Agility assumed the risk for procurement and delivery of the weapons, and Agility,

alone, bears the increased costs.

VI.    The Court Lacks Jurisdiction To Entertain Agility's Claim of Unjust Enrichment

        In its motion for summary judgment, Agility contends that the Government is required to

reimburse Agility for "as-of-yet unreimbursed costs" because the Government had a "duty to

reimburse DGS for its costs after receiving the benefit of the bargain," Pl. Mot., p 2; "is in a

substantially better position" than if Agility had ceased to perform the contract; and will

otherwise receive "an inequitable result." Pl. Mot., pp. 3-4. However, Agility fails to offer any

legal authority to support its position. To the extent that Agility argues that the Government is

not entitled to an unjust enrichment, its argument must fail because this Court lacks jurisdiction


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to entertain claims of unjust enrichment.

       The Tucker Act supplies the Court of Federal Claims with jurisdiction for claims against

the United States founded upon the Constitution, an Act of Congress, a regulation of an

executive department, or an express or implied contract. 28 U.S.C. § 1491(a)(l) (1994); Gouldv.

United S~ates, 67 F.3d 925, 928 (Fed. Cir. 1995). The party invoking jurisdiction has the burden

to show compliance with the Tucker Act. See Reynolds v. Army & Air Force Exch. Serv., 846

F .2d 746, 748 (Fed. Cir. 1988). Jurisdiction based upon a contract "extends only to contracts

either express or implied in fact, and not to claims on contracts implied in law." Hercules, Inc. v.

United States, 516 U.S. 417, 424 (1996).

       Agility's presumed theory ofrecovery is that the Government has been unjustly enriched

because the Government paid Agility about half of what Agility paid for the SPG-9 weapons that

it delivered to the Government. An "unjust enrichment" claim generally exists when one party

benefits at another's expense, and where allowing that party to retain that benefit would be

inequitable. International Air Response v. United States, 75 Fed. Cl. 604, 612 (2007). An unjust

enrichment claim is an equitable implied-in-law contract claim. Id.; Cross Country Industries,

Inc. v. United States, 231 Ct. Cl. 899, 901 (1982). "[A]n agreement implied in law is a "fiction

of law" where 'a promise is imputed to perform a legal duty, as to repay money obtained by

fraud or duress."' Hercules Inc. et. al. v. United States, 516 U.S. 417, 424 (1996) (quoting

Baltimore Ohio Railroad Co. v. United States, 261 U.S. 592, 597 (1923). Because "the Tucker

Act confers upon the [Court of Federal Claims] jurisdiction to hear and determine, inter alia,

claims against the United States founded upon any 'express or implied' contract with the United


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States ... [w]e have repeatedly held that this jurisdiction extends to contracts either express or

implied in fact, and not to claims on contracts implied in law." Id. at 423 (citations omitted).

       It is well-settled that the Tucker Act contains no waiver of sovereign immunity for claims

that are implied-in-law, including unjust enrichment claims. See Trauma Services Group v.

United States, 104 F.3d 1321, 1324-25 (Fed. Cir. 1997) (finding claim barred by sovereign

immunity where medical contractor sought payment for x-ray services which the Government

accepted but was not contractually obligated to pay for). Because this Court lacks jurisdiction to

entertain implied-in-law contract claims, it cannot entertain plaintiffs unjust enrichment claim.

Thus, to the extent that Agility bases its motion for summary judgment upon a theory of urtjust

enrichment, Agility's motion must be denied.

VII.    Agility's Reliance Upon Granite Construction and Blount Brothers Is Inapposite

        In its motion for summary judgment, Agility also contends that "the government is bound

to its bargain when it obtains the benefit thereof after acceding to different specifications." Pl.

Mot., p. 2. By reference to "different specifications," Agility appears to argue that it is entitled

to an equitable adjustment because the Government significantly changed the specifications for

the SPG-9 weapons or that the specifications were defective. In support of this claim, Agility

cites Granite Construction Co., ENGBCA No. 4172, 89-2 BCA ~ 21683, 1989, 1989 WL 29822

(Eng. B.C.A.) and Blount Brothers Corp. v. United States, 872 F.2d 1003, 1008 (Fed. Cir. 1989).

However, these cases are distinguishable from Agility's case.

        In Granite, Granite Construction company was awarded a contract from the Washington

Metropolitan Transit Authority (WMATA) for the construction of a portion of the metro subway


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system in Washington, D.C. Granite, ~l. 10 Because of an oil embargo, the contractor was unable

to obtain special steel specified in the contract for the job. As an alternate, Granite proposed

sketches, referred to as "X-1," as a no cost change in the design to accommodate the situation.

Granite,   ~16.   WMATA reviewed and revised the X-1 proposal, and provided Granite with,

what the board referred to as, a "beefed up" version of Granite's proposal. In the revised

proposal, referred to as "X-2," WMATA made significant revisions to Granite's X-1 proposal in

the specifications for the design of the steel. Granite,     ~~21,   25, 28, 29, 30. Granite began to

incur substantial increased costs of performance based upon WMATA's significantly changed

design. Granite,    ~~41,   42, 43. Granite submitted a request for an equitable adjustment, which

the contracting officer denied. Granite,     ~50.   Upon appeal to the board, the board found that by

significantly changing the design of the steel, WMATA had made a constructive change to the

contract. In so doing, WMATA had shifted from the no cost X-1 proposal of Granite to a new

constructive change order, wherein Granite could claim time and/or increased costs. Thus, the

board determined that Granite was entitled to an equitable adjustment.

        The facts of our case are quite different frotn those of Granite. Here, unlike in Granite, in

which the contract specified certain steel, other than requiring "73 mm SPG-9 recoilless gun(s),"

neither the contract nor Delivery Order D006 specified the variant of the SPG-9 weapons to be

procured. Additionally, with respect to the condition of the weapons, the contract simply stated

that the "proposed equipment may be new, new surplus, used, overhauled, or refurbished," which


10
   "Granite~-" refers to the paragraph number in the Findings of Fact in Granite
Construction Co., ENGBCA No. 4172, 89-2 BCA ~ 21683, 1989, 1989 WL 29822 (Eng.
B.C.A.).
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means that the contractor could select any alternative listed. Pl. Mot., Exhibit A, p. 7;

Attachment 1, p. 14 (emphasis added). In response to Delivery Order D006 in December 2007,

Agility offered to procure new surplus weapons. Pl. Mot., Exhibit A, p. 7. However, Agility

was unable to procure the new surplus weapons, and offered to procure new production weapons.

Pl. Mot. Exhibit A, p. 8.

       Additionally, unlike in Granite, the Government made no changes to the weapons that

were required by the contract. Between 2010 and 2011, following its offer of consideration for

late delivery through Bilateral Modification P00004, Agility was still unable to deliver the new

surplus weapons it had agreed to deliver. In March 2011, the parties executed Bilateral

Modification P00007, in which Agility agreed to deliver (and did deliver) new production

weapons. Because the Government made no changes to the contract regarding the weapons to be

provided by Agility, there is no constructive change and Agility's claim should be dismissed. As

the board in Granite noted:

               It is axiomatic that the risk of determining the availability of
               material needed for contract performance and of unexpected
               increases in cost of material not attributable to the Government
               are borne by the party promising to provide it. [board citations
               omitted]. This is true even when the increase in cost stems from
               an abnormal rise in the price of goods or unusual trade
               conditions. Anthony P. Miller Inc. v. United States, 161 Ct. Cl.
               455, cert. denied, 375 U.S. 879 (1969).

        Similarly, Agility's reliance upon Blount Brothers. Corp. v. United States, 872 F.2d 1003

(Fed. Cir. 1989) is misplaced. In Blount Brothers Corp., the contractor was required to provide

gravel of a certain size, gradation, and color to be used in alterations and additions to the hospital

located at Wright-Patterson Air Force Base in Ohio. Blount Brothers at 1004. The board

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awarded a downward adjustment in the cost to the Government because the contractor did not

provide gravel that was of both the proper coarseness and color, as required by the contract,

when it found that there was such a source. Blount Brothers at 1005. Upon appeal, the Court

reversed the board's decision, because it determined that substantial evidence did not support the

board's finding that there was a source of gravel that met all of the contract's requirements (i.e ..

that was both of a certain coarseness and color). Blount Brothers at 1003. On the contrary, the

Court of Appeals found that the Government's specifications were defective and impossible to

meet because there was no source of gravel that met all of the contract's requirements. Blount

Brothers at 1007-1008. The Court found that even the Government could not identify a source

for the gravel to meet its own specifications. Blount Brothers at 1008.

        Here, there are no defective specifications. Other than requiring SPG-9 weapons, as

stated previously, the contract did not require Agility to procure a certain variant of the weapons.

Additionally, as discussed above, with respect to the condition of the weapons, the contract

simply stated that the "proposed equipment may be new, new surplus, used, overhauled, or

refurbished," at the offeror' s discretion. The weapons supplied by Agility satisfied these

requirements.

        Other than these two inapplicable cases, Agility offers no legal support for its motion for

summary judgment and its motion should be denied.

                                          CONCLUSION

        For the foregoing reasons, defendant respectfully requests that the Court grant our motion

to dismiss, or alternatively, for summary judgment, deny Agility's motion for summary


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judgment, and dismiss Agility's complaint as a matter of law.

Respectfully submitted,

                                                       STUART F. DELERY
                                                       Assistant Deputy Attorney General


                                                       BRYANT G. SNEE
                                                       Acting Director


                                                       s/Martin F. Hockey
                                                       MARTIN F. HOCKEY
                                                       Assistant Director


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November 6, 2013                                       Attorneys for Defendant




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                    APPENDIX
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                                     INOEX TO APPENDIX


Declaration of Terry L. McBee and Attachments.. . . . . . . . . . . . . . . . . . . .     Al

Excerpts from Taos Industries Response to Request for Proposal,
dated May 21, 2004............................................                            A8

Excerpts from Taos Industries Request For Quote #19 Revised, Part I Technical,
dated December 4, 2007.........................................                Al 7

Bilateral Modification P00004, effective April 1, 2010. . . . . . . . . . . . . . . . .   A34

Bilateral Modification P00006, effective January 7, 2011. . . . . . . . . . . . . . .     A37
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          '   I




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS


AGILITY DEFENSE & GOVERNMENT)
SERVICES, INC., .           )
                            )
           Plaintiff,       )
                                             )
         v.                                  )         No. l3C-380
                                             )        (Judge Thomas C. Wheeler)
UNITED STATES 011' AMERICA,                  )
                                             )
                  Defendant.                 )


                               DECLARATION OF TERRY L. MCBEE

I, Terry L. McBee declare:

        1. I am over the age of l 8 and legally competent and capable of making this

 Declaration. I have personal knowledge of the facts contained in this Declaration.

        2. I am currently a Contracting Officer with the United States Army

 Contracting Command, Aberdeen Proving Ground (ACC-APG) providing acquisition

 support as a Procurement Analyst for ACC-APG, Division D, and Branch C.

        3. From December 2009 to August 2012, I served as a Procurement Contracting Officer

 (PCO) and Team Leader for the Foreign Military Sales Team, Research, Development and

 Engineering Command (RDECOM), Division D, Branch D in support of foreign military

 procurements for the United States Army Security Assistance Command (USASAC). In that

 capacity, my responsibilities were to review and assign to team members new procurement

 packages, monitor timelines on new and on-going procurements (including administration of

 contracts), sign modifications and, as Contracting Officer (KO), review award documents, make

 awards apd sign closeouts of contracts (cradle to grave contracting).

        4. In this capacity, I assumed the responsibilities as the KO for Contrnct W91CRB-04-



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  D~0025,   Delivery Order 0006, awarded to Taos, d/b/a, Agility Defense & Govemment Service,

  Inc. (Agility). D0006 was awarded on a firm fixed price basis.

          5. The purpose of this declaration is to describe the weapons that the Government

   sought to procure and the background and contents of Bilateral Modification P00007, including

  the End User Certificate (EUC) needed to export the weapons from Bulgaria to Afghanistan,

          6. The statements in this declaration are based upon my background and recollection of

   my role in preparing Bilateral Modification P00007.

            7. Under 00006, Agility originally offered to provide 225 Hungarian military new

surplus "SPG-9, 73 mm Smoothbore Recoilless Rifle to include the PG0-9 Optical 4x sight"

(SPG-9) at a unit cost of $5,864.00. When Agility could not supply these SPG-9s, it offered to

provide new surplus SP0-9s from the Bulgaria Government stock, that were an acceptable

variant to the Hungarian SPG"9s offered. That offer also fell tlu·ough, leading to Bilateral

Modification P00007 which recorded the agreement to provide new production SPG-9s.

            8. On 8 March 2011, I drafted the Bilateral Modification P00007 with the language

  agreed upon by Agility and the Government. In the modification, I included information that

  Agility indicated was necessary to process a valid End User Certificate (EU C).

           9. For information purposes, an EUC is a document needed by the Bulgarian

   Government in order to grant an export license used to transport weapons between countries.

          10. Because there was a change in the weapon supplier, USASAC had to process a new

   EUC from the Afghanist.an Government. As the contractor supplying and exporting the SPG-9s

   to Afghanistan, Agility was required to provide USASAC the information that the Bulgarian

   Government required for a valid EUC. Agility sent USASAC the information that USASAC

   needed for the new BUG.




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      11, In the EUC, Agility specifically identified the source of the weapons as Arsenal JSC,

100 RozovaDolina St., 6100 Kazanlak, Bulgaria (manufacture). Agility identified the

nomenclature for this subcontractor's version of the SPG-9 as, ''225 SPG-9/ 73mm Arsenal AntiM

Tank Grenade Launcher ATGL-H with Optical Sight PGOK>9." (See Attachments 1 and 2).

      12. I used the same description of the weapons and the source of the weapons that Agility

prnvided for the EUC in Bilateral Modification P00007, in order to ensure consistency between

the wording of the EUC and the wording of Bilateral Modification P00007,

      13. The weapons that Agility offered to procure in March 201 l·as pal't ofBilateral

Modification P00007, "225 SPG-9/ 73mm Arsenal Anti-Tank Grenade Launcher ATGL-I-I with

Optical Sight PGOK-9,'' were nothing more than a variant of the original Hungarian SPG-9

weapons that Agility had offered to provide in the Delivery Order (DO) in December 2007.

      14. The difference in terminology describing the weapons in the DO and in Bilateral

Modification P00007 merely reflects the change in the source of the weapons to the new

subcontractor, Arsenal, and identifies the specific name used by Arsenal for marketing its SPG-9

weapons.

      15, With respect to the condition of the weapons that Agility offered, in 2007, in the

DO, Agility initially had offered to procure new surplus weapons. However, in 201 l, in

Bilateral Modification P00007, Agility specifically offered to procure new production

weapons.

      16. On 10 March 2013 the parties entered into Bilateral Modification P00007. In

Bilateral Modification P00007, both patties agreed to establish a firm delivery schedule for

CLINs 0001 AK-47 magazines and 0004 SPG-9s, Agility also agreed that it would. not use

clause FAR 52.216-22 to claim that it had no obligation to make delivery of the SPG-9s more




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 than two (2) years after the original delivery date. The parties further agreed that any failure

 by Agility to meet the new agreed upon delivery schedule, not caused by the Government,

 would allow the Government to terminate Agility for default without further notice, and

 proceed to re-procure the remaining weapons at the contractor's expense,

            17. Agility delivered all the SPG-9s in accordance with the agreement of the parties that

 was expressed in Modification P00007,



  Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the forgoing is tn.ie
  and correct.
MCBEE
    · 'TERRY1L'11 /1I PlsltollyslgnodbyMcnimnnv.t.11r.39oso1s
                      0N1 c"Us, o•U,S. Govarnmont, tJ\l"OoO, O\.l"PKI,
                                        .\~,~SA, on•Mmn,mnv.t.un39oso1s
63905015                      •/
                                   :'    011ta1~OUil0,3l>101'11!0~   ·tM'otl'



TERRYL. MCBEE

Executed this 30111 day of OCTOBER 2013




                                                                                A4
  Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 35 of 71




•••• .. Original Message-----
From: BELACI<, COLLEEN CIV USA AMC
Sent: Tuesday, March 08, 201110:23 AM
To: McBee, Terry L Mr CIV USA
Cc: Bankerd, Kathy Ms ClV USA AMC; Neydl, Russ Mr CIV USA AMC; Hodge, Craig E CIV USA; BELACK,
COLLEEN crv USA AMC; DAVISON, KAREN CIV USA AMC
Subject: FW: DRAFT EUC - 225 SPG-9s - Taos-Arsenal (UNCLASSIFIED)
Classlflcatlon: UNCLASSIFIED
Caveats: NONE
Terry,
Is DO 7 addressed to Taos or Agility?
The attached will be sent to CSTC-A upon receipt of the DO mod.
Colleen
Colleen Belack
Chlef1 Services and Products Division
(formerly Special Projects Division)
U.S. Army Security Assistance Command
(717) 770-7912, DSN 771-7912
-----Original Message~---·
From: Rich Sneed [mallto:rsneed@agllltyloglstlcs.us]
Sent: Tuesday, March 08 1 201110:15 AM
To: BELACK1 COLLEEN CIV USA AMC
Cc: McBee, Terry L Mr CIV USA; Karen Chlllcott; John Summers; DAVISON1 KAREN CIV USA AMC
Subject: DRAFT EUC - 225 SPG-9s - Taos-Arsenal
Colleen,
 Per our conversation today (In Karen Davison's absence) attached Is the draft EUC for 225 SPG-9s with
optics, This drah has been verlf:led with the supplier, Arsenal JSC, to ensure compliance. If you have
any questions, please let me know,
We acknowledge, per your comments this mornlng 1 that the DRAFT cannot be submitted until you
 receive a copy of the signed modification,                 ·
 Regards,
 Rich Sneed
 Director, Nation Building
 Agility Defense & Government Services
 [cid: Imag e001.gl f@O 1CBD D6E. 73559240] <http://www.agl Iityloglstl cs.com/dgs.shtml >
 Madison, AL, USA                                         .
 Tel. +1.256.772.7743 ext 160
 Fax +1.256.772.7789
 rsneed@taos-lnc.com<mallto:rsneed@taos-lnc.com>
 www.taos-lnc.com <http://www.taos-Inc.com/>
 www.agllltyloglstlcs.com <http://www.agllltyloglstlcs.com/>
 Note: This e-mail may contain confidential Information, If you have received this e-mail without being
 the proper recipient, yo.u are hereby notified that any review, copying, or distribution of It Is strictly
 prohibited. Please Inform the sender of this email Immediately and destroy the original transmittal. Any
 views or opinions presented are solely those of the author of this e-mail and do not necessarily
 represent those of Taos Industries Inc., unless otherwise specifically stated.
 Classification: UNCLASSIFIED
 Caveats: NONE
 Classification: UNCLASSIFIED
 Caveats: NONE




                                                    AS
 Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 36 of 71




TO WHOM IT MAY CONCERN

                              END USER CERTIFICATE

This is to certify that the following items were ordered from Agility Defense Government
Services, Inc. under the U.S. Army Research Development Command Acquisition Center
Contract W91CRB-04-D-0025, Delivery Order 6, dated 7 Dec 07 under Foreign Military
Sales Case B6-B-FAJ issued by the U.S. Army Se.curity Assistance Command
(USASAC) and shall be used in the interests of the Ministry of Defense of the Islamic
Republic of Afghanistan, The items will be supplied by Arsenal JSC, 100 Rozova Dolina
St., 6100 Kazanlak, Bulgaria. The Ministry of Defense for Afghanistan has agreed the
items are for the exclusive use of the Afghanistan National Army and will NOT be
diverted or exported to any third party without consent of the Govemment of Bulgaria .

 Description                                                                    Quantity

 SPG-9/ 73mm Arsenal Anti-Tank Grenade Launcher ATGL-H with                      225
 Optical SightPGOK-9.


As a United States Foreign Military Sale, no import license is required.


The signature of the authorized senior Ministry of Defense official shown below serves to
prove the authenticity of the End Use Certificate.


End Use Certificate is issued in the City of Kabul, Islamic Republic of Afghanistan on
the                       day of _ _ _ _ _ _~-


On behalf of the Ministry of Defense
Islamic Republic of Afghanistan


BAZ MOHAMMED JA WHARI
Assistance Minister for
Acquisition, Technology, and Logistics
Afghanistan Ministry of Defense




                                           A6
                       Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 37 of 71
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!-1onJ<s, Katlitrine M Ms RQECOM                                                     nttmttt'Wq I   #WI


From:                                                        Steve HogE-m [shogan@taos-lnc.com)
Sant:                                                        Friday, May 21, 2004 7:00 PM
To:                                                          Monks, Kaih0rln0 M Ms RDECOM
Subject:                                                     Ta()s Proposal for W91Cr~8·04 .. R·0026

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          ,,l,,l;J;;
       Main
oposal._04-R-0026.p              )
                   .Dear: Mrs. Monks,
Attached is our .propos1;1l fol'.· th"11 subject RF'P, Should you have
quest:lons, please do not hesitate to contact me.
Please confirm receipt of this proposal. Have a great weekend/
Regards,
Steven P.. Hogan
Taos lndwstries, Inc,
Ph: 256"772-7743 x117
Mbl: 256-468-0723
fax: 256-772-7789
----~od.ginal                  Messa.ge-- ..·--
li"rorn: Monks, Kat:hedn!'.l M Ms RD!DCOM [ma:L:Lto: kathe;r.:.J.ne .monks@us, army.rn:l.l]
Sent: Thursday, May 06, 2004 12:04 PM
To: Monks, l<athsdne M Ms RDECOM
Subjeot: W91.CRIJ . ·04-R-0026 Amendment J.
At ti:'\ohed is amendment 1 to the above so:l.J.oitation.                                                 It provides
questions
and answers that have arisen.
Hope i t clea.rs som0 thingf;                                        i,1p.
Have cl greeit day I
!\a U.e
Katherine Monks
U.S. Army Robert Morris Acquisition Center
410-278-0773 (Phone)
    41.0-306-3737 °(Fax)
    katherine.monks@us.army.m:Ll
    «Amendment l W91CRB-04-R-0026.doc»




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Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 38 of 71



                       (""''
                       "

                                                 Taos lndlls1rles Inc,
                                      U.S. Army Robert Morris Acquisition C(1nter
                                      Request for Ol1otatlon W9·\ CREl·04·R·0026
                                                 Dated 23.Apr\12004




                            SOVIET STYLE WEAPONS
                           FOR THE GOVERNMENT OF
                                          AFGHANISTAN

                                                  Submitted By




                               166 Jet pl ex l,ane Mlldlson, AL 35758


                                                 In Response To

                               US Army Robert Morris Acquisition Canter
                                                         FMS
                                             Request for Proposal

                                          W91 CRB .. Q4 .. R-0026
                                                    2·1May2004

                                         USE AND msq,QSURE              QJ~

This propos11l lncl11des dntn tlrnt sll.nll not be disclosed outslrlc the Government nnd shnll not be dupffo11ted,
used, or disclosed-· in whole or Ju pnit-for 1111y purpose othol' than to evahrnte 1hls proposnl. lf, however, a
contrnct Is ~lwl!l'ded to this offeror as H result of- or in conneqtio11 with - the submission of this data, the
Government shall have the right to dupllcnte, use or disclose the d11t'n to tile cxte)lt: provided In the 1•esulth1g
co11trnct. This restl'lctlon does not limit the Govf.lrnmont's 1·lght to llse hlfonuatlon contained lu this d11tn If' lt
Is obtnlned from 11notlie.r so1o·ce without restl'iction, The <llltii subject to thlsre.strlctlon are contained in nil
sheets, Any request for el!:ceptloos to this disclosure policy should bo dh'ectecl to Mr. Sto,•en I:'. Hogan nt Taos
lndustl'los, toleph0110 256-772-7743 ext. 117.




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                                             Taos Industries lno.
                                  U.S. Army Robert Mo.rrls Acquisition Center
                                  Request for Quotstlon W91 ORB-04·R·0020
                                             Dated 23 April 2004




2j May 2004

Mrs. Katherine Monks
US Army Robert Morris Acquisition Center
AMSRD-ACC~U (Monl<s)
4118 Susquehanna Ave.
Aberdeen Proving Ground, MD 21005

Subject:        W91CRB-04mR·0026

Dear Mrs, Monl<s:

Attached Is the proposal of Taos Industries Inc. In response to subject request for
proposal!}. Our proposal Information is included in the following sections, as detailed
herein:

        Cover Letter
        TABLE OF CONTENTS
        GENERAL INFORMATION
        SF 33
        TAOS PRICING AND DELIVERY SCHEDULE
        PART I - TECHNICAL
        PART ll - PAST PERFORMANCE
        Part Ill --ADMINISTRATIVE MATTERS

Taos acknowledges the receipt of RFQ to the basic RFP W91CRB~04-R-0026 dated 23
April 2004 and through Amendments 0001 dated 5 May 2004.

General and Administrative Information concerning Taos Industries Is provided on the
pages which follow. Questions concerning this proposal sJ·10uld be directed to myself or
any of the listed points of contact on the page.

Sincerely,


Steven P. Hogan
CFO
Taos Industries, Inc.
      166 Jetplex l.anll Madison, Alabama 35758 WW\!l·tgos-lnc.~ (100-399·1AOS 250·772·7743 Fax 256-772·7789



 USE OR DISCLOSURE 01" 'fl·llS PROPOSAL INFORMATION 1$ l;lUB.JECT TO THE RESTRICTIONS ON IHI!: mu:: PAGt:
                                           OF THIS PROPOSAL"




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              Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 40 of 71



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HOi,~iW:JfNo.                                          i.~Clll\TIONNO.
                                                       \fll()1CR8·6'1.-FHXJ?.6




                                                               OJDE .._.._,......,...._~...,     .l'ACDJl'Y
                                  Taos Industries, Ina.
                                  166 Jetpl0x Lane
                                  Madison, AL $6758 USA
t SB, 'll1!JJPHON!l NO                    (h<I••• """ "'11>)                                                                                                  ~t.¥m
         1·256·772·774·.3                                                                                                                                      :?.1May2004

19, AlXIWl\lD AS 11) l'J1Jlf~ NU:vi'IJRllP

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   Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 41 of 71




                                                                                                          W9 l CRB·04·R·0026
                                                                                                                 Page 2 of 30
    Section B • S~1ppl\es 01· Services and Prices



lTEM NO    SUPPLIES/SERVlCBS              QUANTITY              UNIT              UNl'T PRICE ·                          AMOUNT
0001                                         1                   Lot              18,218,037.75                       18,218,037.75
           Soviot Style Weapons
           FFP
           Offoroi· sh<11l p1·ovldr;i estimated pl'lci.ng and estimated delivel'y fo1· Soviet Style
           Weapons in accordf;111ce wlth the attached spreadsheet, Qmmtlties al'e estimates.
           Contract per.iod slrnll be dftte of award through one year.

           Proposed equipment may be miw, new surpl\IS, used, overlmuled, or ref\1rbished,
           but must be In se1·vlc<:i1ble, operable oondltlon.

           Offet·s may bt:l mai'Jed, foxed or e.. ma!led (fox o!' e•1tmil preforl'ed) to the following:
           E'mail: kathel'ine.monks@us,army,mil
           Pax: 4.10-306·3737
           US Anny Robert Morris Acquisition Center
           AMSRD·ACC·U (Monks)
           41l8 Susquel~A1111a Ave
           Abcl'deen P1·oving Gro\lnd, MD 21005

           THIS lS AN PMS REQUIREMENT AF-B·UA.T
           MILSTRlP: BAF04N4071 YOOS
           PURCHASE' REQUEST NUMBER: BAF04N4071 Y005




                                                                                  NET AMT                              J8,218,037.'75



    FOB: Destination

    ;B.1 IYEILOF GQNTRAC..I                                                                             .
    A. Basic Clontracts will Issued on an .indefinite delivery/indefinite qt1nn11t·y basis, In acoordmwe with FAR 16.504,

    B. Individual delivery orders issued rn1der the basic contract will be on a firm, fixed-pl'ice basis,




    A. The Government Is obligated to place,. with the contrnotor; a total·of$30,000 in sllpplies undel' this contract
       ove1• tbe contmct period of performance, This will be oonsidei•ed the contract minin111m.

    B. The Govemmen1 may place additional task orders with .the conl'rnotor up to the total estimated amount of the
       colll'l'act. This will be considei'ed the oontrnct 111axiimm1.

    The Oovemment reserws the right to awurd only the minimum to the oon.trnctor; tiiere is 110 guarnnteo that the
    minlmum wlll be exceeded,




                                                                All
Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 42 of 71


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Seotion C - Descriptions and ·Speoifioi1tlons

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                            7.62 RPK Light                            Mec~1lne                                                                                                                                                                                                                                                                                                            uaed 1100%
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                            -40mm GP·25 Gren1;1de                                                                                                                                                                                                                                                                                     ----- -·--···-···-
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                  AMi Spandrel Anti-Tank
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   fil:A.T.E.M.ll.NT OF OBJECTIVES
   l3nckg1'011nd lnfonnation: The U.S. Al'lny Secul'ity Assistance Command (USASAC) has a requirement to obtain
   Soviet Style Weapons for the Government of Afghnnistmi lo include, b\1t not lirnit\",d 10, those listi::d in the attached
   sp1·eadsheet. USASAC anticipates 1·ecL1J't'ingrequlrements but cannot pred.etem1ine the p!'eoise qunnthles of s11ppllcs
   the Government of Afghanistan will require fo1' the contrnct period.

                                                                                            of
    Ohjeotive: The objective this contract ls to provide, on a delivery 01·der basis, using n fixed-price, indefinite·
    delivery, indefinite-quantity (JDJQ) type contrnot, tho Government of Afghanlstan's requirClmenl for Sovitit Style




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Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 43 of 71


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                                               Taos Industries Inc.
                                   U.S. Arrny Rober! Morris Aoqulsltlon c,1nter
                                   Request for Quotation W910RS·04·R·0026
                                               Dated 23 April 2004




                                                   PARTI


                                              TECHNICAL




 USE or~ DISCLOSURE OF THIS PROPOSAi.. INl'Ol~MATION IS SUBJECT TO THE Rf:'SrRICTIONS ON THE llrLE'. PAC.lf~   $
                                          OF THl.S PROPOSAL."




                                                    A13
Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 44 of 71




                                             Taos lndustrlea \no.
                                  U.S. Army Robert Mtmla Acqulel\lon Center
                                  Reques1 for Quotation W91 CRB"04·R·0026
                                             Datl'ld 23 April 2004

Given the nature of these specific CLIN's, discussed below, Taos concludes that a
condition other th~n new Imposes a risk to the user based on the nature of the
munitions fired from the weapon and service life of the barrels. Therefore Taos does
not provide pricing for used, overhauled, or refurbished equipment for these CL IN's,

t;l,ew   '{~rsys   "other" cQndition ratlon!\11

CLIN 0003          ·SPG·9 Recoilless Gun

·The 73mm SPG·9 fires a 73·mm fln·stabl!lzed, rocket-assisted HEAT projectile, The
 pressure generated by repeated firing of this weapon may create stress cracks to the
 breach or barrel that would endanger the operator. Without accurate records of usage,
 the risks of such stress cracks In 'used' condition can not be determined. New    ·
 equipment is therefore proposed.'

CUN 0004           Mortar, 82mm

The 82mm Mortar is produced by Arsenal which recommends new production versus
used or refurbished equipment. Taos has not found used or refurbished stocks In our
research; therefore., new production stocks are proposed.


CLIN 0005 and 0011               Grenade Launcher GP .. 25

The GP"25 fires a 40mm Round High-Explosive Fragmentation RHE·F High-              or
Explosive Fragmentation Jump RHE-FJ generating pressures of 800 kgf/sm. The barrel
stress from pressure generated by firing thl~ weapon may create cracks to the breach or
barrel tl1at would be unnoticeable to the trained observer. New equipment Is therefore
proposed.

CUN 0008           Grenade Launcher RPG-7

Taos delivered a quantity of RPG- 7 launchers to the US SO COM In November 2002,
part of a larger weapon and ammunitions purchase. The RPG-7 has a service life of
approximately 100 firings, after which, the launcher end nozzle Is replaced by removing
the welds, etc. Ref~rblshed or used weapons are not recommended; new equipment Is
therefore proposed,


1.6.2 Other than ~ew or New Sumi us Matetlel

From the Czech Republic, Taos ln;tends to purchase from long-term storage CLIN 0001,
the D-30A 122mm howitzer. The. Czech Republic has several systems that will be
factory Inspected and delivered In unused or slightly used condition.


 US6 OR DISCLOSURIE OF THIS PROPOSAi. INPORMATION IS SUBJECT TO THE RESTRICTIONS ON THg TITLE PAGE;   15
                                         OF THIS PROPOSAL.." ·




                                                   A14
Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 45 of 71



                                                                       ('"'""'"',


                                               Tao$ Industries Inc.
                                 U.S. Army Robert Morris Acquisition Center
                                 f~eqw.t11t for Quotation W91 CR8-0H~·0026
                                            Dated 23 April 2.004

 Taos Intends to purchase refurbished and used PKS machine guns, AK·47's, Makarov
 9mm pistols, and 7.62 RPK Light Machine Guns, CLIN's 0002, 0006 1 0007 1 and 0010,
 respectively, from Croatian stock belong.ing to Henro, Ltd. This supplier Is a UK partner
 with Taos from whom Taos has purcl1ased several million dollars of weap.ons In the past
                     1
 to Include AK~47 s, PKM's, Makarov pistols, RPK's, and AK·74's from this same
 Croatian stock and warehouse delivered to USSOCOM and other US DoD customers.


 1."l~~

 To meet the urgent need of this material, Taos pJans to deliver items from war reserve
 stocks where ;;wallable. For all CLIN's, which me subject to lnternatk,mal trafficking In
 arms regulations, a verifiable and validated End User Certificate will be required,
 Delivery schedules are subject to foreign export license approvals, and related factors
 whlqh may affect delivery. Because all the weapons required on this RFP are not of US
 Origin; Taos will not be delivering any weapons to the CONUS address In New
 Cumberland, PA; rather, Taos will purchase the weapons from Europe and Eastern
 Europe and deliver FOB to 'the Afghan National Depot In Kabul Afghanistan. Taos has
 recent experience In making deliveries to this location for contracts Issued by JLC
 Contracting .Office Forward, In Kabul.

 The Taos propos.ed delivery schedule is detailed In Section C, description and
 Specifications of the RFP. Taos Intends to deliver at least 100% of the quantities
 ordered within 90-120 Days after Receipt of Contract Award and Verified End User
 Certificate in the Country of Origin.

  Other competing US Department of Defense agencies, to Include the Coalition
. Provisional Authority In Iraq, have issued multiple requirements for the slm\lar model
  type of weapons, Existing qualified stocks may not be sufflcle11t to satisfy all thes~
  requirements. If new production Is required because other DoD requirements receive
  priority on stock !terns, Taos will deliver new production weapons. DeHvery of new
  production stocks will take approximately 120 days from approval of Export License.

 1.8     fill.llmlrul.
 Taos recently shipped over 36 metric tons of blank ammunition, comprised of 2,500,000
 rounds, to Kabuli Afghanistan utilizing the services of a S111<way Airlines, IL·76TD (40
 ton capacity), from Bulgaria to Kabul Airport and AES Cargo In Kabul for 'the shipping
 and handling of the cargo in the end Country. Additionally, Taos Is contracting with
 ASB~Alr and AES Cargo, both working In partnership In Afghanistan, for.delivery of
 materiel Into Iraq. Taos Intends to leverage our purchasing power for transportation for
 the Iraqi shipments In support of this contract.

 As such, Taos intends to use the s(ilme or similar supply channels and shipping
 methods, where possible, for completion of the orders Issued under the subject RFP,

  USE OH DISCLOSURE OF THIS PROPOSAL INFORMATION 18 SUBJECT TO THI;! RESTRICTIONS ON 'f"HE TITLE PAGE   16
                                        OF THIS PROPOSAL."




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                                             Taos   lndustrk~a   Inc.
                                 U.S. Army Robert Morris Acqul$ltlon Center
                                 Requeat for Quota11on W91 Cl~B .. Q4 .. R·0026
                                            Dated 23.Aprll 2004

AES Cargo was one of the first global logistics firms In Afghanistan and offers
transportation services from Dubai utilizing weekly flights from Dubai to Kabul with a 2-
day transit time. When the c!!trgo arrives in Kabul, Taos Intends to utilize Taos staff and
AES Cargo for direct deliveries to Destination.


1.9       pricln.g

The Taos pricing for each CLIN Is included In the Section C- Descriptions and
$peclflce.tlons, Taos.pricing Is quoted FOB Destination to the Afghan National Depot,
KablJI, Afghanistan. All costs associated with shipping to Destination are Included lri
each CUN unit prl.ce.

·In preparing this proposal we have obtained written quotes from multiple sources for all
 items and have validated these quotes with our SOCOM foreign weapons database, All
 prices are firm-fixed prices· which Include delivery and warranty.                ·

Minimum orders may be required. The RFP requires that the offeror Include the
transportation and handling costs In the OLIN price. However1 since a .minimum quantity
purchases Is not stated In the RFQ, the Taos pricing schedule may require that the
contractor be allowed to consolidate Individual orders for shipping quantities. This
represents the most ecoliornlcal shipping qwmtlty and cost saving to Afghanistan.


1.1 O Certificate of Conformance
      '
Taos la ·familiar with and provides a Certificate of Conformance (CofC) with deliveries
made to other US Government Security Assistance programs for which Taos Is a prime
contractor or subcontractor, In particular under the Army's SNAP and PROS II
programs. A CofC will be provided with each dellvery made under this contract,
according to the terms of the RFP., FAR 52.246-15.


 1.11     Warranties

Taos warrants and implies that Items delivered hereunder are merchantable and fit for
use for the particular purposes described In this contract.·


 1.12     Persorinel   Q.uallflcation~    and Key Staff

 Procuring nonstandard military armaments, munitions, hazardous materials and
 sensitive technical documentation from foreign oountries1 particularly from third world
 oountrles 1 Is a tremendously demanding task. Every order brings unique challenges In
 terms of meeting foreign government legal and business· requirements, overcoming

 USE OR PISOl.OSURE OF THIS PROPOSAL INPORMATION IS SUBJECT TO THE RESTRICTIONS ON THE T/TL!: PAGJ;;'·   17
                                        OF THIS PROPOSAL.'         '        ·




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                         REQUEST FOR QUOTE #19 Revised

                                               PART I: 'l"'ECHNICAL
                                                   4 December 2007

                                                     S.ubrnltted Sy




                                                    In Response to

                       U.S. Army Research, Development, and Engineering
                                 Command Acquisition Center

                                            Contract W91 CRr3-04-o .. 0025
                                              RFQ Dated 6 November 2007

                                               USE AND DrSCLOSURE OF OATA

Tho d11tt\ enclosed hei·eln is proprietary to Taos Industries lnc. 1t shall not be disclosed \n part or In whole to 11ny
third pa11y other than those employees of the U.S. l)epartment of Dofonso, !U)ECOM and other U.S. Gowrnment
organizations specifically involved in this acqulslt!on. Th!s resttiction wlll no longer apply if a contt·act ls awarded
to Taos Industl'les as 11. result of this ,proposal. Any request for exceptions to th ls dlsolosure policy shoi1ld be directed
to Mr. Mike MoWilll.mns at Taos Industries, telephone 2'36"772" 7743 ext, 133,




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                 Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 48 of 71


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                                                                                                                        480 Production Ave, Madison, AL 35758
                                                                                                                        Phone: (266) "!72·7743; (800) 399"TAOS
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  4 December 2007

  Debbie Morrow
  U.S. Army Research, Development. and Engineering
       Command Acquisition Center
  Aberdeen Proving Ground, MD 21010~5424

      Subject: Request for Pricing # 19

      Dear Ms. Morrow,
              For this RFP. Taos Is sble to provide Improved service, capability. and pricing to the
      C(Jstomer than we have on previous delivery orders. In September 2006. Taos Industries, Inc. was
      purchased by PWC Logistics, a world leading logistics company which has recently rebranded
      Itself as Agility Logistics. Agility Is a $4 Biiiion company with ovEw20,000 personnel working out of
      over 460 offices In more than a 100 oountries. Taos now has at Its fingertips the full oapablll.tles of
      this worldwide logistics empire to best fulfill the requirements of this contract and can perform at a
      level unmatched by our previous oapabllltles as a small family owned busltl'ess, In addition to our
      logistics capability, the Agility Team also maintains a fully staffed office In Kabul that will work
      diligently to facilitate any movements on the ground and maintain constant commuhlcatlon with the
      customer. ·                                                                                .
              Taos recognizes the Government's focus on surety of· delivery as evidenced by the new
      proposal and evaluation requirements set forth on this and recent ·mini-competes. In order to
      remain competitive on previous bids, we offered a low cost approach with an Increased risk in
      regard to surety of delivery. This bid offers competitive pricing for the material sought, but with
      reliance on new production for both items as stooks of this quality and quanlty are no longer In
      existence.                           ·
              As always, Taos will stand by Its products and maintain constant Interface with the customer
      and contracting team as It has done In the past.
               We hope to have served you with our quote and look forward to hearing from you. Please
       direct any questions to the undersigned at (266) 772~7743 ext. 133 or via email at
      mmcwllllarns@tao?:inc.cQ.lll.              .,.                                                        ·


      Slncerely 1


-~?J1ItJL
      Mike McWllllams
      Director




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      Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 49 of 71




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                                                    480 Production Ave, Madlaon1 AL 36768
                                                    Phone: (256) 772-7743: (800) 399-YAOS
                                                    Pax: (266) 772 .. 7789 ~...i.t!i!Q,§.~1UQ~..9om
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.INuUSTRIES                                                                                                                                       . . . . .~                                                                             480 Production Ave, Madison, AL 36768
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                                                                                                                                                ..... .                                                                                  Fax: (256) 772·7789 .w.w.w.)aos"lng.cqm
... Speolalir.ed Procurement Services                                                                                                                  i
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 Item 4: SPG ..9, 73mm Smoothbora F~ecoilless Rifle to include the PGQ..9
 Optical 4x sight
 The SPG~9 Kopye (Spear) Is a Russian trlpod~mounted
 man"portable, 73 mm recoilless gun developed by the Soviet
 Union. It fires fln~stabillzed, rocket-assisted HE and HEAT
 projectiles similar to those fired by the 73 mm 2A28 Grom
 low pressure gun of the BMP·1 vehicle. It was accepted Into
 service In 1962, replacing the 8~1 Orecoilless rifle,

 The' 'project.lie Is· laLinohed frot'n the g.un by a srnan charge·,
 which gives it an initial muzzle velocity of around 250 mis to
 400 rn/s, The charge also Imparts spin to the projectile by a
 series of offset holes in the launch charge. Once the
 projectile has traveled approximately 20' meters from the
 launcher a rocl<et motor i'n the projectl!e Ignites. For the PG·;
 9 projectlle, this takes it to a velocity of 700 m/s before the'
 motor burns out.

::rhe) ~eapon is 11.,ght', and:· is norrn~ll,ly transported ~y, v~hiole,: a~:d 'cafH'etl 1ln~b' 'b'b'slti'dh 89 its two'
'pre0 rr1iemb:ers .. It can be depioY,. ed In abou~ ope m:lny'te·: Th'e '{(!eap~m 1.s ini service with a lame.
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   ·                 .;:                 Type                                          :: .                    .Recoilless rlfle                                                                  : · .:                                       ·· ·

   ... Place                                   of d'rlgin·                                                        Soviet Union                                                                                                                                                               \


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                                                                                                                                                                                                                the tripod)
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                                  Weight                                                                          47.5 kg (59.5 kg with
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                                     Length,

                                       Width
                                                                                                                   2110 mm
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                                     Callber                                                                       73 mm smoothbore
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                                     Breech                                                                        Interrupted screw                                                                                                                     .                                    I
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                                                                                                                               480 Production Ave, Madison, AL 35768
                                                                                                                               Phone: (266) 772-7743; (800) 399-TAOS
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       ·               C1mlage                                   Tripod                                                                                 l
                      fi!evatlon                                 +    '7°/··3"                                                                          1·



                       Traverse.
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                                                                  6 rounds· per minute

                                                              . 2110 tb 400                      mis
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              Maximum range                                       1,200 rn to 6,50o" m
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                                                                                                                                                                4130 Production Ave, Madison, AL 36768
                                                                                                                                                             .. Phone:· (256) '772·7743 ;"('80'0) 399·TAOS
                                                                                                                                                               Fax: (266) 772·7789 Y>!.Yil!'l.!aos-lnc.corn
.Speofafl:eed Procurement Services)"'''
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Item 5: Rifle, Sniper, 7.62mm x 54 R SVD to Include PS0··1 Scope with
illuminated Reticule to include, but not limited to, tha following accessories:
          Contal.ner Cover
          Bristle Brush
          Screwdriver
          Scourer
          Drift
          Container Body
          Oller
          Cheek Plate
          Cleaning Rod
          Cleaning Rod Extenc;ler                                                                                                                                                                                     .
          Cleaning Rod extender • front ·                                                                                                                                                                                                                                                                            t.5>
      Seven (7) magazines per weapon                                      ~ ,.,..._~.....  '/\);)~
      Sling for each weapon                                                --·           ~ \"' '
The Romanian PSL Sniper Rifle is an acceptable substitute for the SVD. The Chinese
version ts NOT acceptable ..

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                                                                            480 Production Ave, Madison, AL 35768
                                                                            Phone: (256) 772"7743; '(800) 399·TA08
                                                                            Fax: (256) 772·7789 ~"J&Jos-lnc.com
....... speolaf/ied Procurement Servlo~~·t··
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  Item 6: Grenade Launcher mtd on AK47, Gf,25/30 (Items                                                                    must be received   in
  country already mounted to the AK. . 47).



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                                                                                                  The 40 mm Under Barrel Grenade
                                                                                                  Launcher UBGL Is designed to be
                                                                                                  attached to 5.46, 5.66 and 7.62
                                                                                                  mm Assault Rifles and Is Intended
                                                                                                  for attacl<lng multiple live targets
                                                                                                  In open or In trenches at ranges
                                                                                                  up to 400m, See table for list of
                                                                                                  .additional a.ccessorles provided.




                   /.'{1\.41 $pedflcZ1th>ll$
                                                                     The 7.62mm AK~47 Is a 1·1ighly effective automatic
: W(ll9h1:                  3,21 kg                                  weapon dE;islgned for the antipersonnel role at a range
                                                                     of 800 m. The system operates on propellant gasses
: Len i.i1h:                847/648 mm
                                                                     diverted through a vent In the barrel.
. B11uel length:            317 mm
                                                                     Single and group targets can by destroyed by burst
  Cm'trldge:                7.62   x   39 mm                         firing at a range of 600m. Skilled marksmen can hit
                                                                     targets In the single sh.ot mode up to 600m. The bullet
: C.<illhen                 .7 ,82 mm                                has a lethal range of 1,350m. The weapon fires
  Ac1ten:                   Gas.opernted, rotating bolt              cartridges cal, 7.62x39rn.

 ' Rnte of fire:            600 RPM
  Feed system:              30 round




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                                                             480 Production Ave, Madlsor.i, AL 36758
                                                             Phone: (256) 772·7743; (800) 399-TAOS
                  ' .          . ..j~1                       Fax: (266) "172-7788 yvww.ta9s~log~com
Speo/allzed Procurement Sorvloes \




                 §JJBPART 2: EXPORT AND TBA~_.SPQ,BJATIQN Pl/;I.~




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                                                             480 Production Ave, Madison, AL 35758
                                                             'Phone: ('256) 772-7743; (800)'399·TA'OS
                                             ~'-. .:i;. /    Fax: (256) 772.-7789 www.taos-lno.com
...Speolafl:r.ed Procurement Servloes".

     Upon receipt of the delivery order, Taos will subcontract with our suppliers while simultaneously
     applying for the EUC. As soon as possible, Taos will travel to the respective country of origin to
     discuss packing and marking requirements, quality controls, and Inspect the weapons with all
     accessories to Include Inspection of the production line If applicable., Upon receipt of the EUC,
     Taos will work with both the suppliers and our own office In Sofia Bulgaria to apply for and obtain
     the required export licenses.

     The regulations for the export of surplus military weapons and new production military weapons
     from Eastern European Countries fall under the Law on Foreign Trade of Armament 1 Military
     Equipment and Dual Use Goods ae revised and Implemented in March 2005. Our forel.gn stJpplles
     are registered In the Ministry of Economic Development for Foreign Trade which allows them to
     export or Import weapons, armament and military equipment. We wlll worl< with Zastava to submit
     the foflowlng documents to the Ministry of Economic Development for application of an export
     license:

        •     Original End User Certificate
        "     Trsnslation of the EUC
        '     Original Contract with the Customer
        "     Translation of the Contract with the Customer
        .,    Original Contract with Taos
        •     Translation of the Contract with Taos
        •     Completed export license appllcatlon

     Upon receipt of the application, the Ministry of Economic Development will request export license
     Issuance from the Ministry of Internal Affairs, the Ministry of Foreign Affalre1 and the Ministry of
     Defense. After all the ministries .approve of the export license, the Ministry, of Economic
     Development will Issue the license. This procedure can last up to 30 days. We will copy the U.S.
     Defense Attacha on this correspondence to keep him In the loop and to facilitate validation If
     requested by the export committee.

     In the event that Taos has an export lssue1 we will work directly with the senior military attache at
     the U.S. Embassy to resolve it. As a matter of routine we wlll keep the military attache advised of
     our aoHvltles throughout the life of the program as discussed above, Our Sofia, Bulgaria office
     meets regularly with U.S. Embai;isy staff and export officials and stantjs ready to resolve lss.ues
     should they arise,

     In order to transport the goods from either the MOD warehouse or the production facility to the
     airport, our suppliers must apply for a land-transport license through their Ministry of Internal
     Affairs. The Ministry of Internal Affairs will request approval from both the Ministry of Foreign
     Affairs and the Ministry of Defense. After receiving these approvals, the Ministry of Internal Affairs
     wlll Issue the transport license. This procedure can last up to 16 days. Taos will then apply for the
     over flight approvals and out the airway blll (AWB) for each flight. .
     For the Items required under this RFP, Taos used the cost and loading capacity of the Ilyushin (ILM
     76) to estimate our shipping, cost. Although there are larger capacity aircraft available, the IL..76 Is
     the most cost effective due to it's availably. Larger capacity aircraft such as the Antovov (AN) ~124
     CONDOR or the AN-225 MRIYA are not practical unless fully loaded and readily available. In
     order to best meet the accelerated delivery tlmellne required by this solicitation, aircraft availability

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           Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 56 of 71



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'1.aor"' . A..j                                           !
                                                        ei: ..
                                                                          480 Production Ave, Madison, AL 35"T58
                                                                        '"Phone:'(2'66)' 772~7743;'(8'0'0)'3'99~TAOS
 INDUSTRIES                                  ............(r.b)· . . .    Fax: (256) 772-7789 ~os·lno.oom
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  Is essential. However) Taos may use larger aircraft or even smaller aircraft than the IL-76, such as
  the AN·12, based upon the mission, plane availability, and tlmellne. In our analysis, we found
  using the cost and loading capacity of the IL~76 works best for both planning and budgetary
  reasons In determining our transportation cost

  Taos used the current cost of an IL"76 to estimate our shipping cost. The IL-76 I$ able to carry a
  maximum of 50,000 kg 1 but for practical purposes the maximum Is only 46,000 kg. In our analysis,
  we. assume that every aircraft will fly to full capacity with a load of 45,000 kg. Any loss of revenue
  Incurred to flights flying at Iese than full capacity will be borne by Taos.

  In our analysis of transportation costs, Taos used the ship weight and dimensions provided to us
  by the suppliers to calculate the number of aircraft required. Based upon the ship weight and
  dimensions, we calculated how many weapons will transport via each aircraft based upon their
  respective availability schedule. The total number of aircraft was then calculated by dividing the
  total weight of the goods by the carrying capacity of the IL·76. Taos then cross referenced our
  calculated weight against the capacity per airplane of previous shipments to double oh.eek our
  estimates. This process allows us to best estimate our shipping cost ae this accounts for a
  cons.iderable amount of the overall unit price.

  After Taos has completed the cargo manifest based upon our calculations, the manifests are
  verified by the load master of the alrcraf"t company. Pending any changes and the completion of all
  required documents, Taos will coordinate with the aircraft company to submit appl.loatlons for
  landing and over flight permit to the respective CAA, under the Ministry of Transportation, Maritime
  Affairs and Telecommunications. The CAA requests spproval from following ministries In order to
  Issue the permit to the airline company: Ministry of Foreign Affairs, Ministry of Defense, and the
  Ministry of Internal Affairs. After receiving all the approvals, the CAA Issues permission to the
  airline company which can take up to 15 days. Taos will also coordinate with contracting officer
  and submit an ISAF movement request form and the PPR request so that the alrcraft can unload
  on the military side of Kabul Airport with an ISAF call sign, Taos will subcontract with a llcensed,
  Insured, and experienced truck carrier to move the weapons· from the military bases and/or storage
  facilities to the airports, Taoer will also coordinate for the required military police escorts to secure
  the transport of the weapons to the airport. Depending on the scheduled time of the flight, the
  goods will arrive at the airport anywhere from e.M2 hours prior to the scheduled flight. Taos wlll
  coordinate for customs to Inspect, verify, and approve the transport of the weapons at the airport
  prior to the aircraft arriving for loading. After the goods have cleared customs, Taos will load the
  chartered aircraft via forkllft(s), After the plane ls loaded, pallets $Goured and stowed In the
  aircraft, the aircraft will depart from th.e airport for final destination pending any technical stops
  and/or fuel. re$upply pending the size of the aircraft and the weight of the load.

  Taos will maintain coordination with the contracting officer. and the POC ln Kabul until the aircraft Is
  on the ground and the goods are secured at their respective depot for rece·lpt by 'the ous.tomer.
  The aircraft will be met by the program manager of our Afghan office to facllltate wherever
  necessary. Taos will, as It always has, stand by our products and support wherever necessary.




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INDUSTRIES
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                                                                    480 i:>roductlon Ave, Madison, AL 35758
                                                                    f'lhOne: '(2'56) 772·774'3;'(800)"399·TAOS
                                             ~I   '   I             Fax: (256) 772 .. 7789 )LYWW.tags·!QQ,,g,Qfil
. speclaflzed Proourement ServloeiFr"



Please submit the EU Cs with the following verbiage and send all originals to the general manager
of our Bulgaria office, Mr. Roger Eaves, as addressed below. It Is understood that delivery will
then be calculated based on the date the EUC Is received by Taos in the Bulgaria.

         Taos Industries, Inc.
         Attn: Mr. Roger Eaves
         Suite No. 2
         34 Zlatovruh Street,
         Lozenetz,
         Sofia 1407
         Bulgaria.
         Tel: +369 (2862) 4029
         Mobile: +359 8866 20653

Please submit a separate EUC for each line Item as listed In the table below:

                                                      NOMENCLATUR!E                                            QUANTITY
 AK·47 Assault Rifle, cal. 7.62mm x 39mm to Include a total of seven (7) 30-round magazines per
_Y.!f~J.?.\?D:: _ _ _~-·                                            -"""""'~--··--·~-~--. ····---~~~-·--1..§1.ZM.
 RPK Light Machine Gun, oal. 7.62rnrn x 39mm to Include a total ofTeti (10) 40·round magazines
 ..filJ'.'i'.eaeon · -~~--·                        -·-·--~~~-----····--~-r---__..7""""46;....i
 BI:Q.:-19renade Launcher w(th 0Rtloal Sight                                       m•·-··-~·-~~-·-,J~sJ_
 seQ:~.1...?}!DJr!. .§3moothboreJ3~SQ!l!~.fil.l Rifle with sl9ht                                                    ,_.,gg§_
 PSL Sn)J?.fil Rifle, 7.62mrn x 5~mn:U.QJ!Jolude PS0-1 scope __:__,__,,....~--------····-····.......                   478,.
 AK-47 AasaY.l!J3Jfl.5J....9filJ..iJ2mm x 39mmJnQ..'dt).teg with GP·25 GrenadeJ:.§yncher                             1 592
                                                               ·---~---·--·-···~-~~-r--~-........J~Q§_
 PKM Machine G~fili.2.§.t...?.&.£mm x 54mm.                     ··-·--·------                      ---~---·-··-·-      745
Ji!:1§.Y.Y... .M.!:!£l"lJD.§1,,§l,J.n, DSHK 12.~J:DX!LWlth Tripod to Include 81?.~Qarts•.§.Od accessories              226.




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                                480 Production Ave, Madl$on, AL 357158
                               'Phone: (266) 772·7743; (8'00)'399·TAOS
                                Fax: (266) 772.. 7789 l!JL..,W.Yi.JJ;lQ.~-100,cQm




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             Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 59 of 71



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                                                                                              480 Production Ave, Madison, AL 35768
                                                                                              Phone: (256) 772" 77/:f3; '(800) 399"TAOS
                                                                                              Fax: (256) 772"7789 ~...t~-lnc.oom


    For this requirement, Taos will deliver required Items as per the table below:

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           ~.........   .....................                  ---·-                                                      -Romania                        ~·


     ,SPG_~L 73mm Smoo.!_~bor~ Reoolll~~-~--Rlfle
    _PSL -~-nlper Rifle
     AK~47 with GP~25 Grenade Launcher
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     Mortar, 82mrn                                                606            Arsenal                                       Bulgaria.
     PKM Machine Gun,
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                                                                  745......      Zast·ava                                          Serbia
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                                                                                     ""'""'
     DSHKHMG                                                      225 Nat-Imp ort Export                                          Poland
                                                                                                                                                            --
    ZASTAVA ORUZJE A.P. ~Serbia
    Mailing address:

                  ZASTAVA ORUZJE AP.
                  Trg topollvaca 4
                  34000 Kragujevac
                  Serbia

    Zastava Arms is a StateMOwned manufacturer of high quality arms with world renowned quality
    and performance. Their history dates bMk as far as 1863, when the Kragu)evac factory casted
    their first front loaded bronze cannons with Serbian coat of arms. Presently, they produce ad
    wide range of hunting, sports and selfMdefense weapons to Include mlHtary grade weapons for
    the S~rblan Army and police forces.

     As the exlst\ng stockplles of mll\tary surplus weapons are dlmlnshlng1 especially for heavy
     machine guns, Zastava ls one of the many E. European manufactures looking towards the
     opportunity to s.upply weapons. of this quanlty. However, Zastava ls one of the few that not only
     has the resources available to accomplish such a large task, but can do It an affordable cost.

     Taos has worked with Zastava on several contracts with US SOGOM and for deliveries to Iraq,
     Taos currently has a production In operation for PKMs and NSVs under Contract W91 Cl~B .. 07~
     07-CM0119. This prlor order wlll enable Zastave to react quickly and start prodcutlon on the
     items requlrmed for this RFQ Immediately upon award as they will not require any start~up time.

     In addition to Taos Madison's management and oversight, Taos will also utiltze our management
     team In our Taos Bulgaria office. Our office manger at our Bulgaria facility has been a proven
     asset to Interface with the manufacture to handle any unforeseen Issues and to maintain constant'

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      Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 60 of 71


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 INDUSTRIES
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                                                         480 Productl()n Ave, Madison, AL 35768
                                                         Phone: (256) 772·7743;"(.800) 399·TAOS
                                           '   .   I    Fax: (256) 772-7789 www.taQ]dt)Q.com
. .sp~ol01flzed Procurement Service~·~·""

Arsenal Co, ·- Bulgaria
Mailing Address:

                  ARSENAL Co.
                  100, Rozova Dollna St.,
                  6100, Kazanlak,
                  BULGARIA

ARSENAL was founded In 1878 In the town of Rousse where It served as the
first factory in support of the newly created Bulgarian Army. It is a
distinguished producer of small arms and artillery armaments, ammunition,
primers, powders, pyrotechnic products, hunting and sport weapons and
ammunitions, cemented carbide tools, tips and Inserts, universal milling
machines, CNC mllllng machines, drllllng machines, castlng 1 forging along with
several other Items.

ARSENAL has built a Quality Management System appllcable for the design
and production of armaments, ammunition and their oomponente In aocordance
with the requirements of NATO Publication ~ AQAP 2110, CERTIFICATE
Serles SK No. 0026/2005

Taos has delivered Arsenal's high quality weapons and ammunition to our customers In lraq 1
Afghanistan, and the U.S. as shown below:

            lj)Purchased over $13,000,000 in material cost
            $  Granted 26 export licenses for weapons and ammunition by the Bulgarlen Export
               Committee
             • Delivered by alr 1 land, and sea to our customers using our proven on the ground
               support

Taos will also utlllze our management team In our Taos Bulgaria .office. Our office manger at our
Bulgaria facility has been a proven asset to Interface with the manufacture to handle any
unforeseen Issues and to maintain constant communication with US Embassy In support of the
export of military goods for US Government contracts. We will utllize all the assets available to us
to ensure a timely delivery of high quality products.




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                                                                  480 Production Ave, Madleon, AL 35758
                                                                ""Phone:· (256) 772· 7743 ;"('800)"39 9·TAOS
                                                                  Fax: (256) 772·7789 ~~-lno.com




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      Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 62 of 71




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                                                     Phone: (266) 7"12-7743; (800) 399-TAOS
INDUSTRIES                 · ........ J"<\:~ ....
                                     \~••bHll        Fax: (256) 772-7789 )ti'.~ 1 taos~lno.com.
. $po.o/a/lzed Procurement Service$


Evdin   l~td.

Taos 11·as worked with the military goods and consultlng group, Evdln Ltd for more than two years.
E'.vdln is our llnl~ to preferred pricing In dealings with Romtechnlca. l:vdln1s .Physical address Is:

        Evdln Limited
        Thermopylon 1
        6023 Lernaca Cyprus

through Evdln 1 Taos l1as delivered millions of dollars of surplus AKw47, RPKs, and RPG from
Rorntechnlca on previous Iraq contracts.         Taos has delivered Romanian arms through
Romtechnlca to our customers In Iraq, Afgha11istan1 and the U.S. as shown below:

            qi   Purchased over $7,000,000 In material cost
            "    Granted 13 export licenses for weapons and ammunition by the Romanian Export
                 Committee
            •    Dellvered by air, land, and sea to our customers using our proven on the ground
                 support

Romtechnloa's physical address Is the following:
            5C, Timlsoara Blvd
            Bucharest 6,
            Romania




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                                                                                 . Phone: (266) 772~7743';'('800)'399·TAOS
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                     TAOS INDt!S'.fRIES INC
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                     35758 Madison, AL
                     USJ\
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                     Dear Mr. MoWllllalris:
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                               SPG-9, 73mli1 Smoothbore Recoilless Rifle' t'o Include the PGl0-9
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                     Please address ai1y questloris· to the undersigned I'll Evdli1 Llmlt\'l'd, Thermopyloil 1, 6023
                     L1,1rnao111C)'~r\is'




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               Case 1:13-cv-00380-TCW Document 15 Filed 11/06/13 Page 64 of 71


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SECTION SP 30 BLOCK 14 CONTINtJATIONPAOE

SUMMARY OF CHANGES


(End of Smnmary of Changes)




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                                                              1April2010

MEMORANDUM FOR RECORD

SUBJECT:         Summary of A ward
                 TAOS
                 W9 l CRB~04"D·0025·0006/04

TYPE OF ACTION: Modification to PMS Weapons Delivery Order 0006

BACKGROUND: Delivery Order 0006 was awarded 7 December 2007 for Weapons for
Afghanistan,

MODIFICATION: This no cost nwdification is being issued to ref1ect the 20,000 YAK-
B Links that TAOS is providing as consideration for late delivery, The oluTent delivery
date is"/ April 2010. TAOS will not meet the C'\.irrent delivery date. The Links shall be
p1·ovidr;id upon receipt of the export license, The revised delivery date.is not yet known,
Anothel' i110di:f:lcat.i.011 wl!J need to be executed when the delivei:y date is determined,

RECOMMENDATION: Based upon the foregoing> aww:d of this no cost modification is
in the best interest of the Government. Award is recommended.

Pl'epru·ed by:                                Approved:
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{\q:M'":.//vk:>~~
Kathleen L. Wissler                           Tm·a L. Casey
                                                                         v-·
Contrncting Officer                           Contracting Officer




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  4110 SUSGWEHANNA AV~NUP.                                                                                                See Item 6
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 EXCEPTION TO SF 30
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SECTlON SF 30 B.LOCK 14 CONTINUATION PAGE

Sl!MMARY OF CHANGES


SECTION F-DELIVERIES OR PERFORMANCE

The following Del.Ivery Schedule itetn for SUBCLIN 0001AC has been changed from:

        DELIVERY DATE                     QUANTiTY   SHIP TO ADDRESS                                     UlC
        07-JAN-2011                       49,545     NIA
                                                     FOB: Destination


To:

        DELIVERY DA TE                    QUANTITY    SHIP TO ADDRESS                                    UlC

        31-JAN-2011                       49,545     NIA
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The following Dollvery Schedule item for SlJBCLIN 0004AA hns been changed from:

         DELIVERY DATE                    QUANTITY    SHIP TO ADDRESS                                    UIC

         ONAN·201 l                       28          NIA
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To:

         DELIVERY DATE                    QUANTITY    SHIP TO ADDRESS                                     UIC

         31-JAN-2011                      28          NIA
                                                      FOB: Destination


(Hnd of Summary of Changes)




                                                                                    Agility   v. US( 13 CV 380) 00000063

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FPDS-NO: TBRRY.L.MCBBf"·W91CRJ3@US.ARMY.MlL [Award Pt.ut]                                                                                                                                                                                                                                                             Piige 1 of 3



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FPDS~NO:                                 TERRY.L.MCBEp· . W91CRB@US.ARMY.M1L [Award Pl°in.~]                                                                                                                                                                                                                                        Page 2of3
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FPDS-NG: TERRY.L.MCB~JJ.:W91.CR'B@US.ARMY.MIL [ Awatd ~J:l.nt]                                      Page 3 of 3

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